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 5
                                                                              CLERK U.S. BANKRUPTCY COURT
     Attorneys for David K. Gottlieb, Chapter 11 Trustee                      Central District of California
 6                                                                            BY Ogier      DEPUTY CLERK


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 8                                     UNITED STATES BANKRUPTCY COURT

 9                                      CENTRAL DISTRICT OF CALIFORNIA

10                                       SAN FERNANDO VALLEY DIVISION

11   In re:                                                     Case No.: 1:18-bk-10098-MB
12
     PENTHOUSE GLOBAL MEDIA, INC.,                              Chapter 11
13
                                          Debtor.               Jointly Administered with Cases Nos.:
14                                                              1:18-bk-10099-MB; 1:18-bk-10101-MB;
            Affects All Debtors                                 1:18-bk-10102-MB; 1:18-bk-10103-MB;
15          Affects Penthouse Global Broadcasting, Inc.         1:18-bk-10104-MB; 1:18-bk-10105-MB;
            Affects Penthouse Global Licensing, Inc.
                                                                1:18-bk-10106-MB; 1:18-bk-10107-MB;
16          Affects Penthouse Global Digital, Inc.
            Affects Penthouse Global Publishing, Inc.           1:18-bk-10108-MB; 1:18-bk-10109-MB;
17          Affects GMI Online Ventures, Ltd.                   1:18-bk-10110-MB; 1:18-bk-10111-MB;
            Affects Penthouse Digital Media Productions, Inc.   1:18-bk-10112-MB; 1:18-bk-10113-MB
18          Affects Tan Door Media, Inc.
            Affects Penthouse Images Acquisitions, Ltd.
19          Affects Pure Entertainment Telecommunications,      ORDER GRANTING CHAPTER 11
     Inc.                                                       TRUSTEE’S MOTION FOR
20          Affects XVHUB Group, Inc.                           PRODUCTION OF DOCUMENTS FROM
            Affects General Media Communications, Inc.          WGCZ LTD., S.R.O. PURSUANT TO FED.
21          Affects General Media Entertainment, Inc.           R. BANKR. P. 2004 AND LBR 2004-1
            Affects Danni Ashe, Inc.
            Affects Streamray Studios, Inc.                     [No Hearing Required]
22

23

24              This matter came before the Court without a hearing upon consideration of the Chapter 11

25   Trustee’s Motion for Production of Documents From WGCZ Ltd., S.R.O. Pursuant To Fed. R.

26   Bankr. P. 2004 AND LBR 2004-1 (the “Motion”) [Docket No. 709]. Based upon the Court’s review

27   of the Motion, and good cause appearing therefor,

28              IT IS HEREBY ORDERED THAT:

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 1           1.       The Motion is granted.

 2           2.       The Trustee, pursuant to Rules 2004 and 9016 of the Fed.R.Bankr.P. and Local

 3   Bankruptcy Rule 2004-1, is authorized to issue and serve the 2004 Subpoena attached as Exhibit “1”

 4   to compel the production of documents in connection with the Trustee’s investigation of the

 5   Debtors’ estate.

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       Date: October 29, 2018
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                           EXHIBIT 1
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                                                       (12/15}
                                                         Document Page 4 of 6
                                  UNITED STATES BANKRUPTCY COURT
- - - - - - - -Central
                - - - - - - - - - -District of- - - - - - - -California
                                                              -----------
                                                                                     1-18-bk- l 0098-MB
In re Penthouse Global Media, Inc., et al.                                  Case No. [Jointly Administered]
                                  Debtor
                                                                           Chapter _II_ _ _ __


                                          SUBPOENA FOR RULE 2004 EXAMINATION

To: WGCZ Ltd., S.R.O.
                                                      (Name ofperson to whom the subpoena is directed)


D Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                        DATE AND TIME




The examination will be recorded by this method: - - - - - - - - - - - - - - - - - - - - - - - - -

~ Production: You, or your representatives, must produce the documents, electronically stored information, or objects
described in Exhibit "I" hereto for inspection and copying (the "Requested Documents") on November#, 2018 beginning at
8:00 a.m. at the location where the Requested Documents are located.                    A           JL,
                                                                                                     ~
        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date:      I 011812018
                                CLERK OF COURT

                                                                          OR
                                                                            Isl Linda F. Cantor
                                Signature of Clerk or Deputy Clerk              Attorney's signature
                                                                            Linda F. Cantor

The name, address, email address, and telephone number of the attorney representing (name ofparty)
         Chapter 11 Trustee         , who issues or requests this subpoena, is:
Linda F. Cantor (310) 277-6910
Pachulski Stang Ziehl & Jones LLP
10 I 00 Santa Monica Blvd., 13th Fir., Los Angeles, CA 90067
lcantor@pszi law .com




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 1                                     DOCUMENTS TO BE PRODUCED
 2            1.       All data of the Debtors stored in Office 365 data for the time period February 19,
                       2016 through June 15, 2018, including all information contained in Outlook, Excel,
 3                     Word, Powerpoint and Access;
 4           2.       All data of the Debtors stored in OneDrive for the time period February 19, 2016
                      through June 15, 2018; and
 5
             3.       All data of the Debtors stored in Quickbooks for the time period February 19, 2016
 6                    through June 15, 2018.
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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                  (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
   (I) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (CJ Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                                (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party's officer; or                                      be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                            compensated.

  (2)For Other Discovery. A subpoena may command:                                   (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within I 00 miles of where the person resides, is employed,          (IJ Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                      procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                    information:
                                                                                         (AJ Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                    documents must produce them as they are kept in the ordinary course of
                                                                                    business or must organize and label them to correspond to the categories in
      (I) Avoiding Undue Burden or Expense; Sanctions. A party or                   the demand.
attorney responsible for issuing and serving a subpoena must take                        (BJ Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person              Specified If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is             electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction-                 a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a               usable form or forms.
party or attorney who fails to comply.                                                   (CJ Electronically Stored Information Produced in Only One Form. The
                                                                                    person responding need not produce the same electronically stored
  (2) Command lo Produce Materials or Permit Inspection.
                                                                                    information in more than one form.
     (A) Appearance Not Required. A person commanded to produce
                                                                                         (DJ Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                    responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                    from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.                                                                  of undue burden or cost. On motion to compel discovery or for a protective
                                                                                    order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                    reasonably accessible because of undue burden or cost. If that showing is
~ings or to permit inspection may serve on the party or attorney designated
                                                                                    made, the court may nonetheless order discovery from such sources if the
m the subpoena a written objection to inspecting, copying, testing or
                                                                                    requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                    26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,           (2J Claiming Privilege or Protection.
the following rules apply:                                                               (AJ Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party        information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an             trial-preparation material must:
order compelling production or inspection.                                                  (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                (!i) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from       or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                      privileged or protected, will enable the parties to assess the claim.
                                                                                          (B)lnformation Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                             subpoena is subject to a claim of privilege or of protection as trial-
    (A) When Required. On timely motion, the court for the district where           preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                        received the information of the claim and the basis for it. After being
      (i) fails to allow a reasonable time to comply;                               notified, a party must promptly return, sequester, or destroy the specified
      (ii) requires a person to comply beyond the geographical limits               information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                            until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no      information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                     promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                       where compliance is required for a determination of the claim. The person
   (BJ When Permitted To protect a person subject to or affected by a               who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on           is resolved.
motion, quash or modify the subpoena if it requires:
      (i) disclosing a trade secret or other confidential research,                 (g) Contempt. The court for the district where compliance is required - and
development, or commercial information; or                                          also, after a motion is transferred, the issuing court - may hold in contempt
                                                                                    a person who, having been served, fails without adequate excuse to obey
                                                                                    the subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)


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